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                                                                              22BU-CC00035

             IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI

JOSHUA NYAUNDI,                              )
                                             )
                                             )
                              Plaintiff      )
v.                                           )
                                             )               Case No.
TRIUMPH FOODS, LLC,                          )
                                             )               Division
                                             )
Serve Registered Agent:                      )
Kevin Wedeking                               )
5302 Stockyards Expressway                   )
St. Joseph, MO 64504                         )               Jury Trial Demanded
                                             )
                                             )
                              Defendant      )


                             PLAINTIFF’S PETITION FOR DAMAGES
       COMES NOW Plaintiff Joshua Nyaundi by and through his attorney of record, Thomas

Ahlbrandt of The Ahlbrandt Law Firm, LLC, and for his causes of action against Triumph

Foods, LLC states and alleges as follows:

                                     GENERAL ALLEGATIONS

       1.      The claims in this Petition arise out of Plaintiff’s employment relationship with

Defendant.

       2.      The unlawful conduct alleged herein occurred at Plaintiff’s place of employment,

which is located at 5302 Stockyards Expressway, St. Joseph, MO 64504.

       3.      In violation of the Missouri Human Rights Act (“MHRA”) RSMo. § 213.010 et.

seq., and 42. U.S.C. § 1981, Plaintiff was subjected to unlawful discrimination and retaliation.




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       4.      Plaintiff is an African-American male of Kenyan national origin and ancestry who

at all relevant times resided in Buchanan County, MO.

       5.      Defendant Triumph Foods, LLC is a Missouri domestic limited liability company

with its principal place of business at 5302 Stockyards Expressway, St. Joseph, Missouri 64504.

       6.      Jurisdiction and venue over the parties is proper because the conduct described

herein occurred in Buchanan County, Missouri at Defendant’s places of business.

       7.      At all relevant times, Defendant employed more than six individuals and is

therefore an employer within the meaning of RSMo. § 213.010 et. seq.

       8.      This action arises under the MHRA, RSMo. § 213.010 et. seq.

       9.      Plaintiff has exhausted his administrative remedies and received a Notice of Right

to Sue Letter from the Missouri Commission on Human Rights dated October 5, 2021. A true

and accurate copy of the notice is attached hereto as Exhibit A and incorporated herein by

reference.

       10.     Jurisdiction is invoked pursuant to RSMo. § 213.010 et. seq.

                                      STATEMENT OF FACTS

       11.    Plaintiff was employed as an at-will employee of Defendant from April 21, 2010

through early November 2020.

       12.     Plaintiff’s most recent job title at Triumph Foods, LLC was Kill Floor Assistant

General Supervisor.

       13.    Plaintiff was experienced in this role and had an exemplary work history.


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       14.     Shortly before his employment was terminated, Plaintiff was informed by then-

General Manager Clay Swan, that he would be promoted to General Supervisor.

       15.     Due to unrelated circumstances, Mr. Swan retired early, before Plaintiff’s

promotion was complete.

       16.     Julio Sanchez replaced Mr. Swan as General Manager, he immediately began

discriminating against Plaintiff on the basis of Plaintiff’s race and national origin.

       17.     Mr. Sanchez blocked Plaintiff’s promotion and instead promoted a less-qualified

individual who was not African-American or of Kenyan national origin: Jorge Rara. Mr. Rara

had never even worked on the kill floor while Plaintiff had many years of experience.

       18.     Mr. Rara and Mr. Sanchez are both Hispanic and both speak Spanish. Plaintiff

does not speak Spanish.

       19.     At about the same time, a Hispanic employee named Murcia Leicester began

acting in an intimidating and hostile manner toward Plaintiff.

       20.     Plaintiff complained about the conduct to his supervisors, but nothing was done.

       21.     On November 7, 2020, Plaintiff reported his claims of race and national origin

discrimination to the appropriate individuals at Triumph Foods, describing the aforementioned

conduct and opposing it.

       22.     Just three days later, on November 10, 2020, two employees that Plaintiff was

responsible for supervising became involved in a workplace altercation. Plaintiff was not able to

intervene in time and by the time he arrived, the employees had separated.



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        23.    Plaintiff addressed the closest of the two employees, telling him to switch rails.

This employee reacted angrily, grabbing Plaintiff by the neck and threatening to punch Plaintiff.

Plaintiff simply tried to defend himself from the aggression by attempting to hold the employee

back.

        24.    That same day, Plaintiff’s employment was summarily terminated. There was no

meaningful investigation. Plaintiff was informed that his employment had been terminated for

fighting.

        25.    Defendant did not follow its own policies and procedures in investigating the

claims surrounding Plaintiff’s termination of employment.

        26.    Plaintiff was treated in a disparate manner from similarly situated non African-

American employees and/or employees not of Kenyan national origin.

        27.    Defendant’s termination of Plaintiff’s employment was discriminatory on the

basis of his race and national origin and was retaliatory in nature.

        28.    After Plaintiff’s employment with Defendant was terminated, Plaintiff made

diligent efforts to obtain new employment.

        29.    As a result of Defendant’s conduct, Plaintiff has suffered harm and damage in the

form of emotional distress, loss of income, and lost opportunities for advancement from the time

of his termination and continuing.




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                    COUNT I: MHRA NATIONAL ORIGIN DISCRIMINATION
       For his cause of action against Defendant Triumph Foods, LLC under Count I of this

Petition for Damages, Plaintiff states and alleges as follows:

       30.     Plaintiff realleges and incorporates paragraphs 1 – 30 of the above Petition into

Count I as if fully stated herein, and additionally states the following in support of Count I.

       31.     Plaintiff is of Kenyan national origin and ancestry. He is a member of a protected

group pursuant to RSMo. 213.010, et. seq.

       32.     Defendant’s actions as discussed above, constitute national origin discrimination

in violation of the MHRA.

       33.     Plaintiff was subjected to discriminatory conduct by Defendant, which were made

on the basis of his national origin.

       34.     Plaintiff’s termination and the investigation of claims against him were

discriminatory in nature on the basis of his national origin.

       35.     Plaintiff’s national origin was the motivating factor in Defendant’s decision to

terminate Plaintiff’s employment.

       36.     Defendant’s actions were undertaken maliciously or in reckless disregard for

Plaintiff’s right to be free from discrimination.

       37.     Plaintiff has suffered damages as a result in the form of lost wages, lost benefits,

and has suffered emotional distress damages associated with being terminated and for enduring

acts of discrimination.




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                            COUNT II: MHRA RACE DISCRIMINATION
        For his cause of action against Defendant Triumph Foods, LLC under Count II of this

Petition for Damages, Plaintiff states and alleges as follows:

        38.    Plaintiff realleges and incorporates paragraphs 1 – 38 of the above Petition into

Count II as if fully stated herein, and additionally states the following in support of Count II.

        39.    Plaintiff is African-American. He is a member of a protected group pursuant to

RSMo. 213.010, et. seq.

        40.     Defendant’s actions as discussed above, constitute race discrimination in violation

of the MHRA.

        41.    Plaintiff was subjected to discriminatory conduct by Defendant, which were made

on the basis of his race.

        42.     Plaintiff’s termination and the investigation of claims against him were

discriminatory in nature on the basis of his race.

        43.     Plaintiff’s race was the motivating factor in Defendant’s decision to terminate

Plaintiff’s employment.

        44.     Defendant’s actions were undertaken maliciously or in reckless disregard for

Plaintiff’s right to be free from discrimination.

        45.    Plaintiff has suffered damages as a result in the form of lost wages, lost benefits,

and has suffered emotional distress damages associated with being terminated and for enduring

acts of discrimination.




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                                  COUNT III: MHRA RETALIATION
       For his cause of action against Defendant Triumph Foods, LLC under Count III of this

Petition for Damages, Plaintiff states and alleges as follows:

       46.     Plaintiff realleges and incorporates paragraphs 1 – 46 of the above Petition into

Count III as if fully stated herein, and additionally states the following in support of Count III.

       47.     Plaintiff engaged in protected activity under the MHRA when he complained of

race and national origin discrimination.

       48.     Defendant took adverse employment actions against Plaintiff in violation of the

MHRA.

       49.     Plaintiff’s complaints relating to race and national origin were all or part of the

reasons for Defendant’s adverse employment actions against him.

       50.     Defendant’s actions were undertaken maliciously or in reckless disregard for

Plaintiff’s right to be free from discrimination.

       51.     Plaintiff has suffered damages as a result in the form of lost wages, lost benefits,

and has suffered emotional distress damages associated with being terminated and for enduring

acts of discrimination.




                      COUNT IV: MHRA HOSTILE WORK ENVIRONMENT
       For his cause of action against Defendant Triumph Foods, LLC under Count IV of this

Petition for Damages, Plaintiff states and alleges as follows:




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       52.     Plaintiff realleges and incorporates paragraphs 1 – 52 of the above Petition into

Count IV as if fully stated herein, and additionally states the following in support of Count IV.

       53.     Plaintiff was subjected to unwelcome harassment that was severe and pervasive,

creating a hostile work environment, including tangible employment actions by his supervisor

for failing to promote Plaintiff and failing to investigate complaints.

       54.     Plaintiff’s race and/or national origin was all or part of the reason for the hostile

work environment.

       55.     Defendant’s unwelcome harassment affected the terms, conditions, and privileges

of Plaintiff’s employment.

       56.     Defendant knew or should have known of the harassment and failed to respond

with appropriate remedial action.

       57.     Defendant’s actions against Plaintiff were outrageous because Defendant had an

evil motive and/or reckless indifference to the rights of others.

       58.     Plaintiff has suffered damages as a result in the form of lost wages, lost benefits,

and has suffered emotional distress damages associated with being terminated and for enduring

acts of discrimination.




               COUNT V: DISCRIMINATION IN VIOLATION OF 42 U.S.C. § 1981
       For his cause of action against Defendant Triumph Foods, LLC under Count V of this

Petition for Damages, Plaintiff states and alleges as follows:




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       59.     Plaintiff realleges and incorporates paragraphs 1 – 59 of the above Petition into

Count V as if fully stated herein, and additionally states the following in support of Count V.

       60.     Plaintiff was an African-American employee of Defendant and maintained a

contractual relationship through at-will employment.

       61.     At all times relevant, Defendant was an employer subject to 42 U.S.C. § 1981.

       62.     Defendant discriminated against Plaintiff in violation of 42 U.S.C. § 1981 through

       its actions, policies, behavior, and treatment toward Plaintiff.

       63.     Plaintiff’s race was the motivating factor in the discriminatory treatment by

Defendant.

       64.     Defendant’s actions against Plaintiff were outrageous because Defendant had an

evil motive and/or reckless indifference to the rights of others.

       65.     Plaintiff has suffered damages as a result in the form of lost wages, lost benefits,

and has suffered emotional distress damages associated with being terminated and for enduring

acts of discrimination.

                COUNT VI: RETALIATION IN VIOLATION OF 42 U.S.C. § 1981
       For his cause of action against Defendant Triumph Foods, LLC under Count VI of this

Petition for Damages, Plaintiff states and alleges as follows:

       66.     Plaintiff realleges and incorporates paragraphs 1 – 66 of the above Petition into

Count VI as if fully stated herein, and additionally states the following in support of Count VI.

       67.     Plaintiff engaged in protected activity when he complained of race discrimination.



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       68.       Defendant took adverse employment action against Plaintiff in violation of 42

U.S.C. § 1981.

       69.       Plaintiff’s complaints relating to race was a motivating factor in Defendant’s

adverse employment action and discriminatory conduct against him.

       70.       Defendant’s actions against Plaintiff were outrageous because Defendant had an

evil motive and/or reckless indifference to the rights of others.

       71.       Plaintiff has suffered damages as a result in the form of lost wages, lost benefits,

and has suffered emotional distress damages associated with being terminated and for enduring

acts of discrimination.




                                          PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment against Defendant on each previously

enumerated count and claim and prays this Honorable Court to declare the conduct engaged in

by Defendant to be a violation of Plaintiff’s rights, and to Order the following:

       a. enjoin Defendants from engaging in such conduct;

       b. award Plaintiff equitable relief of back pay, and if appropriate and applicable, front

       pay;

       c. award Plaintiff compensatory, punitive, and liquidated damages;

       d. award Plaintiff damages for pain and suffering;

                                                   10


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e. award Plaintiff his costs and attorney’s fees; and

f. grant such other relief as it may deem just and proper.

                             DEMAND FOR JURY TRIAL

72.    Plaintiff demands a jury trial on all counts so triable.




                                              Respectfully submitted,

                                              Thomas M. Ahlbrandt
                                              Thomas M. Ahlbrandt, MO#67797
                                              The Ahlbrandt Law Firm, LLC
                                              9237 Ward Parkway, Suite 100
                                              Kansas City, MO 64114
                                              T: (816) 490-6301
                                              tom@ahlbrandtlaw.com
                                              Attorney for Plaintiff




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                                                                                                                                                                             Electronically Filed - Buchanan - December 30, 2021 - 02:54 PM
                                      MISSOURI DEPARTMENT OF LABOR AND INDUSTRIAL RELATIONS
                                        MISSOURI COMMISSION ON HUMAN RIGHTS
                                                                                                                                       22BU-CC00035

     MICHAEL L. PARSON                              ANNA S. HUI                                            DEREK M. HOLLAND                            ALISA WARREN, PH.D.
         GOVERNOR                               DEPARTMENT DIRECTOR                                        COMMISSION CHAIR                            EXECUTIVE DIRECTOR



Joshua Nyaundi
4518 Gene Field Road
Saint Joseph, MO 64506
Via Complainant Attorney Email
                                                                  NOTICE OF RIGHT TO SUE


RE:         Joshua Nyaundi vs. TRIUMPH FOODS
            E-02/21-52714 28E-2021-00333C

The Missouri Commission on Human Rights (MCHR) is terminating its proceedings and issuing this notice of your right
to sue under the Missouri Human Rights Act because you have requested a notice of your right to sue.

This letter indicates your right to bring a civil action within 90 days of the date of this notice against the respondent(s)
named in the complaint. Such an action may be brought in any circuit court in any county in which the unlawful
discriminatory practice is alleged to have occurred, but it must be brought no later than two years after the alleged
cause occurred or its reasonable discovery. Upon issuance of this notice, the MCHR is terminating all proceedings
relating to the complaint. No person may file or reinstate a complaint with the MCHR after the issuance of a notice of
right to sue relating to the same practice or act. You are hereby notified of your right to sue the Respondent(s) named
in your compliant in state circuit court. THIS MUST BE DONE WITHIN 90 DAYS OF THE DATE OF THIS NOTICE OR
YOUR RIGHT TO SUE IS LOST.

You are also notified that the Executive Director is hereby administratively closing this case and terminating all MCHR
proceedings relating to it. This notice of right to sue has no effect on the suit-filing period of any federal claims. This
notice of right to sue is being issued as required by Section 213.111.1, RSMo, because it has been over 180 days after
the filing of the complaint and MCHR has not completed its administrative processing.


Respectfully,




Alisa Warren, Ph.D.                                                                                           October 5, 2021
Executive Director                                                                                            Date

C:          additional contacts listed on next page




          JEFFERSON CITY OFFICE                         ST. LOUIS OFFICE                           KANSAS CITY OFFICE                             SIKESTON OFFICE
          421 E. DUNKLIN STREET                   111 N. 7TH STREET, SUITE 903                       P.O. BOX 1129                          106 ARTHUR STREET, SUITE D
              P.O. BOX 1129                        ST. LOUIS, MO 63101-2100                    JEFFERSON CITY, 65102-1129                    SIKESTON, MO 63801-5454
     JEFFERSON CITY, MO 65102-1129                   PHONE: 314-340-7590                           FAX: 816-889-3582                             FAX: 573-472-5321
           PHONE: 573-751-3325                         FAX: 314-340-7238
            FAX: 573-751-2905




Missouri Commission on Human Rights is an equal opportunity employer/program. Auxiliary aides and services are available upon request to individuals with disabilities.
                                                       TDD/TTY: 1-800-735-2966 (TDD) Relay Missouri: 711
                                                  www.labor.mo.gov/mohumanrights            E-Mail: mchr@labor.mo.gov




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                        RE:    Joshua Nyaundi vs. TRIUMPH FOODS
                              E-02/21-52714 28E-2021-00333C


TRIUMPH FOODS
5302 Stockyards Expressway
Saint Joseph, MO 64506
Via Respondent Contact Email

Gregory D. Ballew
FISHER & PHILLIPS LLP
4900 Main Street, Suite 650
Kansas City, MO 64112
Via Email

Thomas M. Ahlbrandt
THE AHLBRANDT LAW FIRM, LLC
800 E. 101st Terrace, Suite 350
Kansas City, MO 64131
Via Email




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           IN THE 5TH JUDICIAL CIRCUIT, BUCHANAN COUNTY, MISSOURI

Judge or Division:                                              Case Number: 22BU-CC00035
KATE H SCHAEFER
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
JOSHUA NYAUNDI                                                  THOMAS MICHAEL AHLBRANDT
                                                                7057 CEDAR ST
                                                          vs.   PRAIRIE VILLAGE, KS 66208
Defendant/Respondent:                                           Court Address:
TRIUMPH FOODS, LLC                                              BUCHANAN CO COURTHOUSE
Nature of Suit:                                                 411 JULES ST
CC Employmnt Discrmntn 213.111                                  SAINT JOSEPH, MO 64501
                                                                STATUS REVIEW HEARING DATE SET
                                                                FOR 04-05-2022 IN DIVISION 1 AT 9:00AM                        (Date File Stamp)

                                                         Summons in Civil Case
  The State of Missouri to: TRIUMPH FOODS, LLC
                            Alias:
 SERVE RA: KEVIN WEDEKING
 5302 STOCKYARDS EXPRESSWAY
 ST. JOSEPH, MO 64504
       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

    BUCHANAN COUNTY                                     1/5/2022                                         /S/ K. SAVAGE
                                                      Date                                                      Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by: (check one)
         delivering a copy of the summons and petition to the defendant/respondent.
         leaving a copy of the summons and petition at the dwelling house or usual place of abode of the defendant/respondent with
           _________________________________________________, a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and petition to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ________________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. JOSEPH), MO, on _____________________ (date) at _________ (time).

     _______________________________________________                           _________________________________________________
                    Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                  My commission expires: __________________                ________________________________________
                                                                      Date                                       Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits,
  see Supreme Court Rule 54.


SJRC (07-21) SM30 (SMCC) For Court Use Only: Document ID # 22-SMCC-12
                                                       1 of 1 (22BU-CC00035) Civil Procedure Form No. 1, SCR 54.01 – 54.05,
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                                                                       54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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